     Case: 1:75-cv-03974 Document #: 21 Filed: 06/25/19 Page 1 of 2 PageID #:24


                                                                Honorable Judge Gary Feinerman

                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


Leopoldo Burgos, et al                     }
                                           }
       v                                   }
                                           }      Case No. 75cv3974
                                           }
Illinois Department of Children and        }
Family Services, et al                     }


TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE FOR REASSIGNMENT

        It appearing that the above-captioned case requires further judicial action, I therefore
recommend to the Executive Committee that this case be reassigned by lot to an active judge of
this court. The reasons for my recommendation are indicated on the reverse of this form.

                                           THOMAS G. BRUTON, CLERK


                                           /s/ Sarah McCarthy
                                           Deputy Clerk

Dated: June 25, 2019


                          ORDER OF THE EXECUTIVE COMMITTEE

        IT IS HEREBY ORDERED that the Clerk of the Court reassign the above-captioned case
by lot to the calendar of an active judge of this court in accordance with the Rules.


                                           ENTER:

                                           FOR THE EXECUTIVE COMMITTEE



                                           ________________________________
                                            Chief Judge Rubén Castillo
Dated: June 25, 2019
    Case: 1:75-cv-03974 Document #: 21 Filed: 06/25/19 Page 2 of 2 PageID #:24




IOP13(b) [ ]      This cause is currently pending on the Fugitive Calendar having previously
                  been assigned to the calendar of Judge who is no longer sitting; it is
                  recommended that it be reassigned to the calendar of an active judge of this
                  court, the defendant no longer being a fugitive.

LR40.5   [ ]      Pursuant to the provisions of LR 40.5, this cause is to be reassigned by lot
                  having been reversed and remanded pursuant to a mandate issued by the
                  U.S. Court of Appeals, 7th Circuit.

IOP13(J) [X]      This cause having last been assigned to the calendar of Honorable Judge
                  James B. Zagel who is no longer sitting; it is recommended that it be
                  reassigned to the calendar of an active judge of this court as it appears to
                  require further judicial action.
